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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

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                                                              :
 In re                                                        :          Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                              :
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                                     Debtors.                 :          (Jointly Administered)
                                                              :
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                           SCHEDULE OF ASSETS AND LIABILITIES FOR
                           CHINOS HOLDINGS, INC. (CASE NO. 20-32181)




 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
       Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
       Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
       International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
       (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
       Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
       headquarters and service address is 225 Liberty St., New York, NY 10281.
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     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
        AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Chinos Holdings, Inc. and its debtor affiliates, as debtors and debtors in possession in the
 above-captioned chapter 11 cases (collectively, the “Debtors”), are filing their respective
 Schedules of Assets and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and
 Statements of Financial Affairs (each, a “Statement” and collectively, the “Statements”) in the
 United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division
 (the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
 (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
 (the “Bankruptcy Rules”).

         These Global Notes and Statements of Limitations, Methodology, and Disclaimer
 Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
 and are incorporated by reference in, and comprise and integral part of all of the Schedules and
 Statements. The Global Notes are in addition to the specific notes set forth below with respect to
 the Schedules and Statements (the “Specific Notes,” and, together with the Global Notes,
 the “Notes”). These Notes should be referred to, and referenced in connection with, any review
 of the Schedules and Statements.

         The Debtors’ management prepared the Schedules and Statements with the assistance of
 their advisors and other professionals. The Schedules and Statements are unaudited and subject to
 potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
 data derived from their books and records that was available at the time of preparation. The
 Debtors’ management team and advisors have made reasonable efforts to ensure that the Schedules
 and Statements are as accurate and complete as possible under the circumstances; however,
 subsequent information or discovery may result in material changes to the Schedules and
 Statements and errors or omissions may exist. Notwithstanding any such discovery, new
 information, or errors or omissions, the Debtors do not undertake any obligation or commitment
 to update the Schedules and Statements.

         The Debtors reserve all rights to amend or supplement the Schedules and Statements from
 time to time, in all respects, as may be necessary or appropriate, including the right to dispute or
 otherwise assert offsets or defenses to any claim reflected on the Schedules and Statements as to
 amount, liability, classification, identity of Debtor, or to otherwise subsequently designate any
 claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the
 Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’ rights or an
 admission with respect to their chapter 11 cases, including any issues involving objections to
 claims, substantive consolidation, equitable subordination, defenses, characterization or re-
 characterization of contracts and leases, assumption or rejection of contracts and leases under the
 provisions of chapter 3 of the Bankruptcy Code, causes of action arising under the provisions of
 chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to recover assets or avoid
 transfers.




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                         Global Notes and Overview of Methodology

        The Schedules, Statements, and Notes should not be relied upon by any persons for
 information relating to current or future financial conditions, events, or performance of any
 of the Debtors or their affiliates.

        1.     Description of the Cases. On May 4, 2020 (the “Petition Date”), each of the
               Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code.
               The Debtors are authorized to operate their businesses and manage their properties
               as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
               Code. On May 5, 2020, the Bankruptcy Court entered an order authorizing the joint
               administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b)
               [Docket No. 99]. Notwithstanding the joint administration of the Debtors’ cases
               for procedural purposes, each Debtor has filed its own Schedules and Statements.
               On May 13, 2020, the United States Trustee for the Eastern District of Virginia,
               Richmond Division (the “U.S. Trustee”) appointed an official committee of
               unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy Code
               (the “Creditors’ Committee”).

        2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
               prepare consolidated financial statements, which include information for the
               Debtors and their non-Debtor affiliates. The Schedules and Statements are
               unaudited and reflect the Debtors’ reasonable efforts to report certain financial
               information of each Debtor on an unconsolidated basis. These Schedules and
               Statements neither purport to represent financial statements prepared in accordance
               with Generally Accepted Accounting Principles in the United States (“GAAP”),
               nor are they intended to be fully reconciled with the financial statements of each
               Debtor.

               The Debtors used reasonable efforts to attribute the assets and liabilities, certain
               required financial information, and various cash disbursements to each particular
               Debtor entity. Because the Debtors’ accounting systems, policies, and practices
               were developed for consolidated reporting purposes rather than for reporting by
               legal entity, however, it is possible that not all assets and liabilities have been
               recorded with the correct legal entity on the Schedules and Statements.
               Specifically, the Debtors do not account for accounts payable and payments to
               individual creditors on a legal entity basis. Substantially all payments are made by
               J. Crew Operating Corp. on behalf of the various entities and therefore are presented
               as such in the Schedules and Statements. Intercompany receivables and payables
               are created to account for these transactions by legal entity. Therefore, unless
               indicated otherwise, scheduled claims are listed as a liability of J. Crew Operating
               Corp. The Debtors reserve all rights to supplement and amend the Schedules and
               Statements in this regard, including with respect to reallocation of assets or
               liabilities to any particular entity.

        3.     Reporting Date. Unless otherwise noted on the specific responses, the Schedules
               and Statements generally reflect the Debtors’ books and records as of the close of
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            business on the Petition Date. The liability values are as of the Petition Date,
            adjusted for authorized payments made under the First Day Orders (as defined
            below).

      4.    Current Values. Unless otherwise noted on the specific responses, the assets and
            liabilities of each Debtor are listed in the Schedules and Statements on the basis of
            the net book value of the asset or liability in the respective Debtor’s accounting
            books and records.

      5.    Confidentiality. There may be instances where certain information was not
            included or redacted due to the nature of an agreement between a Debtor and a third
            party, concerns about the confidential or commercially sensitive nature of certain
            information, or to protect the privacy of an individual.

      6.    Consolidated Entity Accounts Payable and Disbursement Systems. As
            described in the Motion of Debtors for Entry of Interim and Final Orders
            (I) Authorizing Debtors to (A) Continue Participating In Existing Cash
            Management System, and Using Bank Accounts and Business Forms, and
            (B) Continue Intercompany Transactions, (II) Providing Administrative Expense
            Priority for Postpetition Intercompany Claims, (III) Extension of Time to Comply
            with Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief [Docket
            No. 7], the Debtors utilize an integrated, centralized cash management system, in
            the ordinary course of business, to collect, concentrate, and disburse funds
            generated by their operations (the “Cash Management System”). The Debtors
            maintain a master concentration account to pay the Debtors’ obligations through
            the following accounts: (a) disbursement accounts, (b) payroll account,
            (c) investment accounts, (d) open account and letter of credit account, and (e) non-
            debtor cash management systems.

            In the ordinary course of business, the Debtors maintain business relationships
            among each other, which result in intercompany receivables and payables
            (the “Intercompany Claims”) arising from intercompany transactions
            (the “Intercompany Transactions”). As set forth more fully in the Cash
            Management Motion, Intercompany Transactions primarily relate to income taxes
            or fees charged by certain Debtors or non-Debtor affiliates to other Debtors or non-
            Debtor affiliates on account of the intercompany provision of goods or services.
            Historically, Intercompany Claims are not settled by actual transfers of cash among
            the Debtors. Instead, the Debtors track all Intercompany Transactions in their
            centralized accounting system, which concurrently are recorded on the applicable
            Debtors’ balance sheets and regularly reconciled. The Debtors’ accounting system
            requires that all general ledger entries be balanced at the legal entity level, with
            certain legal entities consolidated. Unless otherwise noted, the Debtors have
            reported the intercompany receivables and intercompany payables among the
            Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as appropriate.

      7.    Accuracy. The financial information disclosed herein was not prepared in
            accordance with federal or state securities laws or other applicable nonbankruptcy
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            law or in lieu of complying with any periodic reporting requirements thereunder.
            Persons and entities trading in or otherwise purchasing, selling, or transferring the
            claims against or equity interests in the Debtors should evaluate this financial
            information in light of the purposes for which it was prepared. The Debtors are not
            liable for and undertake no responsibility to indicate variations from securities laws
            or for any evaluations of the Debtors based on this financial information or any
            other information.

      8.    Net Book Value of Assets. In many instances, current market valuations are not
            maintained by or readily available to the Debtors. As such, wherever possible, net
            book values as of the Petition Date are presented. Amounts ultimately realized
            based on market valuations may vary materially from net book value (or other value
            so ascribed). Accordingly, the Debtors reserve all rights to amend, supplement,
            and adjust the asset values set forth in the Schedules and Statements. As applicable,
            fixed assets and leasehold improvement assets that fully have been depreciated or
            amortized, or were expensed for GAAP accounting purposes, have no net book
            value, and, therefore, are not included in the Schedules and Statements.

      9.    Undetermined Amounts. Claim amounts that could not readily be quantified by
            the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The
            description of an amount as “undetermined,” “unknown,” or “N/A” is not intended
            to reflect upon the materiality of the amount.

      10.   Excluded Assets and Liabilities. The Debtors believe that they have identified,
            but did not necessarily value, all material categories of assets and liabilities in the
            Schedules. The Debtors have excluded the following items from the Schedules and
            Statements: certain accrued liabilities, including accrued salaries and wages,
            employee benefit accruals, and certain other accruals, certain prepaid and other
            current assets considered to have de minimis or no market value. Other immaterial
            assets and liabilities may also have been excluded.

      11.   Totals. All totals that are included in the Schedules and Statements represent totals
            of all the known amounts included in the Schedules and Statements and exclude
            items identified as “unknown” or “undetermined.” If there are unknown or
            undetermined amounts, the actual totals may be materially different from the listed
            totals.

      12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
            unless otherwise indicated.

      13.   Payment of Prepetition Claims Pursuant to First Day Orders. The Debtors
            have authority to pay certain outstanding prepetition payables pursuant to certain
            orders by the Bankruptcy Court entered in connection with the Debtors’ chapter 11
            cases authorizing the Debtors to pay certain prepetition amounts (collectively, the
            “First Day Orders”). As such, outstanding liabilities may have been reduced by
            any court-approved postpetition payments made on prepetition payables. If these
            liabilities have been satisfied, they are not listed in the Schedules and Statements
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               unless otherwise noted. If the Debtors later pay any amount of the claims listed in
               the Schedules and Statements pursuant to any orders entered by the Bankruptcy
               Court, the Debtors reserve all rights to amend or supplement the Schedules and
               Statements or to take other action, such as filing claims objections, as is necessary
               and appropriate to avoid overpayment or duplicate payments for liabilities.

      14.      Other Paid Claims. If the Debtors have reached any postpetition settlement with
               a vendor or other creditor that expressly supersedes the Schedules and Statements
               or that was entered into after filing of the Schedules and Statements, the terms of
               such settlement will prevail, supersede amounts listed in the Debtors’ Schedules
               and Statements, and shall be enforceable by all parties, subject to Bankruptcy Court
               approval.

      15.      Setoffs. The Debtors routinely incur certain setoffs from customers and suppliers
               in the ordinary course of business. Setoffs in the ordinary course can result from
               various items including, but not limited to, pricing discrepancies, customer
               programs, returns, promotional funding, and other disputes between the Debtors
               and their customers and suppliers. These routine setoffs are consistent with the
               ordinary course of business in the Debtors’ industry, and, therefore, can be
               particularly voluminous, unduly burdensome, and costly for the Debtors to
               regularly document. Therefore, although such setoffs and other similar rights may
               have been accounted for when scheduling certain amounts, these ordinary course
               setoffs are not independently accounted for, and, as such, are excluded from the
               Debtors’ Schedules and Statements. Any setoff of a prepetition debt to be applied
               against the Debtors is subject to the automatic stay and must comply with section
               553 of the Bankruptcy Code.

            16. Inventory. Merchandise inventories are carried at the lower of average cost or net
                realizable value. The Debtors capitalize certain design, purchasing and
                warehousing costs in inventory. The Debtors evaluate all of their inventories to
                determine excess inventories based on estimated future sales. Based on historical
                results experienced through various methods of disposition, the Debtors write down
                the carrying value of inventories that are not expected to be sold at or above cost.
                Additionally, the Debtors reduce the cost of inventories based on an estimate of lost
                or stolen items each period.

      17.      Property, Plant and Equipment. Property and equipment are stated at cost and
               are depreciated over the estimated useful lives using the straight-line method.
               Buildings and improvements are depreciated over estimated useful lives of twenty
               years. Furniture, fixtures and equipment are depreciated over estimated useful
               lives, ranging from three to ten years. Leasehold improvements are depreciated
               over the shorter of their useful lives or related lease terms (without consideration
               of optional renewal periods). The Debtors capitalize certain costs (included in
               fixtures and equipment) related to the acquisition and development of software and
               amortizes these costs using the straight-line method over the estimated useful life
               of the software, which is three to five years. Certain development costs not meeting
               the criteria for capitalization are expensed as incurred.
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      18.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
            or Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
            including the following:

            a.      Any failure to designate a claim listed on the Debtors’ Schedules and
                    Statements as “disputed,” “contingent,” or “unliquidated” does not
                    constitute an admission by the Debtors that such amount is not “disputed,”
                    “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                    and to assert setoff rights, counterclaims, and defenses to any claim
                    reflected on the Schedules as to amount, liability, and classification, and to
                    otherwise subsequently designate any claim as “disputed,” “contingent,” or
                    “unliquidated.”

            b.      Notwithstanding that the Debtors have made reasonable efforts to correctly
                    characterize, classify, categorize, or designate certain claims, assets,
                    executory contracts, unexpired leases, and other items reported in the
                    Schedules and Statements, the Debtors nonetheless may have improperly
                    characterized, classified, categorized, or designated certain items. The
                    Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or
                    redesignate items reported in the Schedules and Statements at a later time
                    as is necessary and appropriate.

            c.      The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                    (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or
                    (iv) listing a contract or lease on Schedule G as “executory” or “unexpired”
                    does not constitute an admission by the Debtors of the legal rights of the
                    claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                    such claim or contract pursuant to a schedule amendment, claim objection
                    or otherwise. Moreover, although the Debtors may have scheduled claims
                    of various creditors as secured claims for informational purposes, no current
                    valuation of the Debtors’ assets in which such creditors may have a security
                    interest has been undertaken. Except as provided in an order of the
                    Bankruptcy Court, the Debtors reserve all rights to dispute and challenge
                    the secured nature or amount of any such creditor’s claims or the
                    characterization of the structure of any transaction, or any document or
                    instrument related to such creditor’s claim.

            d.      In the ordinary course of their business, the Debtors lease equipment and
                    other assets from certain third-party lessors for use in the daily operation of
                    their business. The Debtors have made commercially reasonable efforts to
                    list any such leases in Schedule G, and any current amounts due under such
                    leases that were outstanding as of the Petition Date are listed on Schedule
                    E/F. Except as otherwise noted herein, the property subject to any such
                    leases is not reflected in Schedule A/B as either owned property or assets of
                    the Debtors, and neither is such property or assets of third parties within the
                    control of the Debtors. Nothing in the Schedules is or shall be construed as
                    an admission or determination as to the legal status of any lease (including
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                    whether any lease is a true lease or a financing arrangement), and the
                    Debtors reserve all rights with respect to any of such issues, including the
                    recharacterization thereof.

            e.      The claims of individual creditors for, among other things, goods, products,
                    services or taxes are listed as the amounts entered on the Debtors’ books
                    and records and may not reflect credits, allowances or other adjustments due
                    from such creditors to the Debtors. The Debtors reserve all of their rights
                    with regard to such credits, allowances and other adjustments, including the
                    right to assert claims objections and setoffs with respect to the same.

            f.      The Debtors’ businesses are part of a complex enterprise. Although the
                    Debtors have exercised their reasonable efforts to ensure the accuracy of
                    their Schedules and Statements, they nevertheless may contain errors and
                    omissions. The Debtors hereby reserve all of their rights to dispute the
                    validity, status, and enforceability of any contracts, agreements, and leases
                    identified in the Debtors’ Schedules and Statements, and to amend and
                    supplement the Schedules and Statements as necessary.

            g.      The Debtors further reserve all of their rights, claims, and causes of action
                    with respect to the contracts and agreements listed on the Schedules and
                    Statements, including the right to dispute and challenge the characterization
                    or the structure of any transaction, document, and instrument related to a
                    creditor’s claim.

            h.      The Debtors exercised their reasonable efforts to locate and identify
                    guarantees and other secondary liability claims (the “Guarantees”) in their
                    executory contracts, unexpired leases, secured financings, debt instruments,
                    and other agreements. When such Guarantees have been identified, they
                    are included in the relevant Schedules and Statements. Guarantees
                    embedded in the Debtors’ executory contracts, unexpired leases, secured
                    financings, debt instruments, and other agreements may have been omitted
                    inadvertently. Thus, the Debtors reserve their rights to amend and
                    supplement the Schedules and Statements to the extent that additional
                    Guarantees are identified. In addition, the Debtors reserve the right to
                    amend the Schedules and Statements to re-characterize and reclassify any
                    such contract or claim.

            i.      Listing a contract or lease on the Debtors’ Schedules and Statements shall
                    not be deemed an admission that such contract is an executory contract,
                    such lease is an unexpired lease, or that either necessarily is a binding, valid,
                    and enforceable contract. The Debtors hereby expressly reserve the right to
                    assert that any contract listed on the Debtors’ Schedules and Statements
                    does not constitute an executory contract within the meaning of section 365
                    of the Bankruptcy Code, and the right to assert that any lease so listed does
                    not constitute an unexpired lease within the meaning of section 365 of the
                    Bankruptcy Code.
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            j.      Exclusion of certain intellectual property should not be construed to be an
                    admission that such intellectual property rights have been abandoned, have
                    been terminated or otherwise expired by their terms, or have been assigned
                    or otherwise transferred pursuant to a sale, acquisition, or other transaction.
                    Conversely, inclusion of certain intellectual property should not be
                    construed to be an admission that such intellectual property rights have not
                    been abandoned, have not been terminated or otherwise expired by their
                    terms, or have not been assigned or otherwise transferred pursuant to a sale,
                    acquisition, or other transaction.

      19.   Global Notes Control. If the Schedules or Statements differ from any of the
            foregoing Global Notes, the Global Notes shall control.

      Specific Notes with Respect to the Debtors’ Schedules

      1.    Schedule A/B.

            a.      A/B.3. As set forth more fully in the Cash Management Motion, the
                    Debtors conduct their operations through an extensive network of bank
                    accounts. The values provided for in Schedule A/B, Item 3 for each account
                    for a given Debtor reflects the ending cash balance of such account as of the
                    Petition Date.

            b.      A/B.10–12. Consistent with the Debtors’ financial reporting practices,
                    certain current assets, including credit card receivables, wholesale
                    receivables, corporate receivables, and any allowances thereof provided for
                    in Schedule A/B, Items 11 and 12 are as of the Petition Date. Intercompany
                    receivables have been listed as “Other property” under Schedule A/B, Item
                    77.

            c.      A/B.15. Equity interests in subsidiaries and affiliates primarily arise from
                    common stock ownership or member interests. For purposes of these
                    Schedules, the Debtors have assigned an ownership percentage for the
                    equity interests of all of their direct subsidiaries.

            d.      A/B.18–26. Schedule A/B, Items 18–26 identifies the estimated value of
                    the Debtors’ inventories. Included within the estimated values are various
                    reserves and capitalized balances that the Debtors attribute to the total value
                    of inventory as included within their books and records, such as on account
                    of slow moving goods, shrinkage and markdowns.

            e.      A/B.54–58. The Debtors considered only real property owned in
                    responding to Schedule A/B, Items 54–58. However, the Debtors’ real
                    property leases are listed in Schedule G and are incorporated into Schedule
                    A/B, Items 54-58 by reference. The Debtors’ real property leases for retail
                    store locations are listed on Schedule G for Chinos Holdings, Inc.; J. Crew


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                    Group, Inc.; J. Crew Operating Corp.; Grace Holmes, Inc.; J. Crew Inc.;
                    Madewell Inc.; H.F.D. No. 55, Inc.

            f.      A/B.59–65. The Debtors have not listed the value of the items listed in
                    Schedule A/B, Items 59–65 because the values on the Debtors’ books and
                    records may not accurately reflect their value in the marketplace.

                    Additionally, certain of the Debtors have customer information from loyalty
                    programs, customer accounts, in-store and online sales, as well as
                    information collected from the Debtors’ websites and third-party partners,
                    which information includes personally identifiable information. The
                    Debtors maintain certain records in the ordinary course of business, but do
                    not sell these lists. Due to privacy laws, the Debtors’ privacy policy, and
                    the need to protect confidential information and individual privacy, the
                    Debtors have not furnished any customer lists on their Schedules.

            g.      A/B.72. The Debtors file consolidated federal tax returns, as well as certain
                    of their state tax returns, under Chinos Holdings, Inc. Consequently, the
                    Debtors maintain net and current book operating losses, carryforwards of
                    disallowed business interest expense, and carryforwards of unused general
                    business credits, in each case, from consolidated tax filings made by Chinos
                    Holdings, Inc. (“Tax Assets”), and such Tax Assets are listed only under
                    Item 72 of Schedule A/B for Chinos Holdings, Inc. Additionally, the values
                    of the Tax Assets listed in Schedule A/B, Item 72 reflect the amounts listed
                    in the Debtors’ books and records, and may reflect amounts accumulated
                    for more than one tax year.

            h.      A/B.70–77. Despite exercising their commercially reasonable efforts to
                    identify all known assets, the Debtors may not have listed all of their causes
                    of action or potential causes of action against third parties as assets in their
                    Schedules. Unless otherwise noted on specific responses, items reported on
                    Schedule A/B are reported from the Debtors’ books and records as of the
                    Petition Date. The Debtors reserve all of their rights with respect to any
                    claims and causes of action they may have. Neither these Notes nor the
                    Schedules shall be deemed a waiver of any such claims or causes of action
                    or to prejudice or impair the assertion thereof in any way.

                    If a Debtor has received an intercompany receivable, such amount has been
                    listed on Item 77, Schedule A/B for such Debtor. Correspondingly, if a
                    Debtor is obligated on account of an intercompany payable, such amount
                    has been listed on Schedule E/F, Part 2 for such Debtor.

      2.    Schedule D. The claims listed on Schedule D, as well as the guarantees of those
            claims listed on Schedule H, arose and were incurred on various dates; a
            determination of the date upon which each claim arose or was incurred would be
            unduly burdensome and cost prohibitive. Accordingly, not all such dates are
            included for each claim. To the best of the Debtors’ knowledge, all claims listed
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            on Schedule D arose or were incurred before the Petition Date. The amounts in
            Schedule D are consistent with the Debtors’ stipulations set forth in the Final Order
            (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the
            Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
            Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition
            Secured Parties, (V) Modifying Automatic Stay, and (VI) Granting Related Relief
            [Docket No. 447] (the “DIP Order”), which are subject to investigation and
            challenge by the Creditors’ Committee or other parties in interest, all as more fully
            set forth in the DIP Order.

            Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or
            general order entered by the Bankruptcy Court that is or becomes final, including
            the DIP Order, the Debtors and their estates reserve their right to dispute and
            challenge the validity, perfection, or immunity from avoidance of any lien
            purported to be granted or perfected in any specific asset to a creditor listed on
            Schedule D of any Debtor and, subject to the foregoing limitations, note as follows:
            (a) although the Debtors may have scheduled claims of various creditors as secured
            claims for informational purposes, no current valuation of the Debtors’ assets in
            which such creditors may have a lien has been undertaken; (b) the Debtors have
            included the results of UCC lien searches performed prior to the Petition Date (the
            reporting of such results, however, shall not be deemed an admission as to the
            validity or existence of any such lien); (c) the Debtors reserve all rights to dispute
            and challenge the secured nature of any creditor’s claim or the characterization of
            the structure of any such transaction or any document or instrument related to such
            creditor’s claim; and (d) the descriptions provided on Schedule D only are intended
            to be a summary. Reference to the applicable loan agreements and related
            documents is necessary for a complete description of the collateral and the nature,
            extent, and priority of any liens.

            Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
            collateral relating to the debt contained on Schedule D are contained in the
            Declaration of Michael J. Nicholson in Support of Debtors’ Chapter 11 Petitions
            and First Day Relief [Docket No. 6] (the “First Day Declaration”).

            The Debtors have listed only the administrative agent or indenture trustee for their
            funded secured indebtedness, but each of these secured claims are owned or
            beneficially controlled by a number of parties that may not be identified in the
            Schedules and Statements.

            Except as specifically stated herein, real property lessors, equipment lessors, utility
            companies, and other parties which may hold security deposits or other security
            interests have not been listed on Schedule D. The Debtors have not listed on
            Schedule D any parties whose claims may be secured through rights of setoff,
            deposits, or advance payments posted by, or on behalf of, the Debtors, or judgment
            or statutory lien rights.


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      3.    Schedule E/F

            a.      (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred
                    on various dates; a determination of the date upon which each claim arose
                    or was incurred would be unduly burdensome and cost prohibitive.
                    Accordingly, not all such dates are included for each claim. To the best of
                    the Debtors’ knowledge, all claims listed on Schedule E/F arose or were
                    incurred before the Petition Date.

                    The Debtors have not listed certain wage, or wage-related obligations that
                    the Debtors have paid pursuant to First Day Orders on Schedule E/F. The
                    Debtors reserve the right to dispute or challenge whether creditors listed on
                    Schedule E/F are entitled to priority status pursuant to sections 503 and 507
                    of the Bankruptcy Code.

                    Claims owing to various taxing authorities to which the Debtors potentially
                    may be liable are included on the Debtors’ Schedule E/F. Certain of such
                    claims, however, may be subject to ongoing audits and the Debtors
                    otherwise are unable to determine with certainty the amount of the
                    remaining claims listed on Schedule E/F. Therefore, the Debtors have listed
                    all such claims as disputed, contingent, and unliquidated, pending final
                    resolution of ongoing audits or other outstanding issues.

                    The Debtors reserve the right to assert that any claim listed on Schedule E/F
                    does not constitute a priority claim under the Bankruptcy Code.

            b.      (Part 2). The Debtors have exercised their commercially reasonable efforts
                    to list all liabilities on Schedule E/F of each applicable Debtor. As a result
                    of the Debtors’ consolidated operations, however, the reader should review
                    Schedule E/F for all Debtors in these cases for a complete understanding of
                    the unsecured debts of the Debtors. Certain creditors listed on Schedule E/F
                    may owe amounts to the Debtors, and, as such, the Debtors may have valid
                    setoff and recoupment rights with respect to such amounts. The amounts
                    listed on Schedule E/F may not reflect any such right of setoff or
                    recoupment, and the Debtors reserve all rights to assert the same and to
                    dispute and challenge any setoff and recoupment rights that may be asserted
                    against the Debtors by a creditor. Additionally, certain creditors may assert
                    mechanic’s, materialman’s, or other similar liens against the Debtors for
                    amounts listed on Schedule E/F. The Debtors reserve their rights to dispute
                    and challenge the validity, perfection, and immunity from avoidance of any
                    lien purported to be perfected by a creditor listed on Schedule E/F of any
                    Debtor. In addition, certain claims listed on Schedule E/F (Part 2) may be
                    entitled to priority under 11 U.S.C. § 503(b)(9).

                    The Debtors have made reasonable efforts to include all unsecured creditors
                    on Schedule E/F including, but not limited to, lease counterparties, taxing
                    authorities, trade creditors, and service providers. The amounts listed in
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                            Schedule E/F with respect to certain trade creditors are consistent with the
                            Debtors’ stipulations set forth in each such creditors’ ongoing trade
                            agreement, as applicable.1 The Debtors have made reasonable efforts to
                            include certain balances on Schedule E/F, including deferred liabilities,
                            accruals, or general reserves, but may not have included all balances where
                            impracticable. Such amounts are, however, reflected on the Debtors’ books
                            and records as required in accordance with GAAP. Such accruals primarily
                            represent general estimates of liabilities and do not represent specific claims
                            as of the Petition Date. The Debtors have made reasonable efforts to include
                            as contingent, unliquidated and disputed the claim of any party not included
                            on the Debtors’ open accounts payable that is associated with an account
                            that has an accrual or receipt not invoiced.

                            Schedule E/F also contains information regarding pending litigation
                            involving the Debtors. In certain instances, the relevant Debtor that is the
                            subject of the litigation is unclear or undetermined. To the extent that
                            litigation involving a particular Debtor has been identified, however, such
                            information is included on that Debtor’s Schedule E/F. The amounts for
                            these potential claims are listed as undetermined and marked as contingent,
                            unliquidated, and disputed in the Schedules.

                            The aggregate net intercompany payable amounts listed in Schedule E/F
                            may or may not result in allowed or enforceable claims by or against a given
                            Debtor, and listing these payables is not an admission on the part of the
                            Debtors that the Intercompany Claims are enforceable or collectable. The
                            intercompany payables also may be subject to recoupment, netting, or other
                            adjustments made pursuant to intercompany policies and arrangements not
                            reflected in the Schedules.

                            Additionally, the Bankruptcy Court has authorized the Debtors to pay, in
                            their discretion, certain unsecured claims, pursuant to the First Day Orders.
                            To the extent practicable, each Debtor’s Schedule E/F is intended to reflect
                            the balance as of the Petition Date, adjusted for postpetition payments of
                            some or all of the Bankruptcy Court-approved payments. Each Debtor’s
                            Schedule E/F will reflect some of the Debtor’s payments of certain claims
                            pursuant to the First Day Orders, and, to the extent an unsecured claim has
                            been paid or may be paid, it is possible such claim is not included on
                            Schedule E/F. Certain Debtors may pay additional claims listed on
                            Schedule E/F during these Chapter 11 cases pursuant to these and other
                            orders of the Bankruptcy Court and the Debtors reserve all of their rights to
                            update Schedule E/F to reflect such payments or to modify the claims


 1
     Further information and a form of the Debtors’ ongoing trade agreements is set forth in the Debtors’ Final Order
     (I) Authorizing Debtors to Pay Certain Prepetition Claims, Lien Claims, and 503(b)(9) Claims, (II) Confirming
     Administrative Expense Priority of Undisputed Prepetition Orders, and (III) Granting Related Relief [Docket No.
     384].

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                    register to account for the satisfaction of such claim. Additionally, Schedule
                    E/F does not include potential rejection damage claims, if any, of the
                    counterparties to executory contracts and unexpired leases that have been,
                    or may be, rejected.

      4.    Schedule G. Although reasonable efforts have been made to ensure the accuracy
            of Schedule G regarding executory contracts and unexpired leases (collectively,
            the “Agreements”), review is ongoing and inadvertent errors, omissions or
            overinclusion may have occurred. The Debtors may have entered into various other
            types of Agreements in the ordinary course of their businesses, such as indemnity
            agreements, supplemental agreements, and amendments/letter agreements that may
            not be set forth in Schedule G. In addition, as described herein, certain non-
            disclosure agreements and or other confidential information have been omitted, as
            well as certain short-term purchase and sales orders given their large number and
            transitory nature.

            Omission of an agreement from Schedule G does not constitute an admission that
            such omitted agreement is not an executory contract or unexpired lease. Schedule
            G may be amended at any time to add any omitted Agreements. Likewise, the
            listing of an Agreement on Schedule G does not constitute an admission that such
            Agreement is an executory contract or unexpired lease or that such Agreement was
            in effect on the Petition Date or is valid or enforceable. The Agreements listed on
            Schedule G may have expired or may have been modified, amended, or
            supplemented from time to time by various amendments, restatements, waivers,
            estoppel certificates, letter and other documents, instruments and agreements that
            may not be listed on Schedule G. Executory agreements that are oral in nature have
            not been included in Schedule G. Any and all of the Debtors’ rights, claims and
            causes of action with respect to the Agreements listed on Schedule G are hereby
            reserved and preserved, and as such, the Debtors hereby reserve all of their rights
            to (i) dispute the validity, status, or enforceability of any Agreements set forth on
            Schedule G, (ii) dispute or challenge the characterization of the structure of any
            transaction, or any document or instrument related to a creditor’s claim, including,
            but not limited to, the Agreements listed on Schedule G and (iii) to amend or
            supplement such Schedule as necessary. Certain of the Agreements listed on
            Schedule G may have been entered into on behalf of more than one of the Debtors.
            Additionally, the specific Debtor obligors to certain of the Agreements may not
            have been specifically ascertained in every circumstance. In such cases, the
            Debtors have made reasonable efforts to identify the correct Debtor’s Schedule G
            on which to list the Agreement and, where a contract party remained uncertain,
            such Agreement may have been listed on a different Debtor’s Schedule G.

      5.    Schedule H. The Debtors are party to various debt agreements, which were
            executed by multiple Debtors. The obligations of guarantors under prepetition,
            secured credit agreements are noted on Schedule H for each individual debtor. In
            the ordinary course of their businesses, the Debtors are involved in pending or
            threatened litigation and claims arising out of the conduct of their businesses. Some
            of these matters may involve multiple plaintiffs and defendants, some or all of
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            whom may assert cross-claims and counter-claims against other parties. Because
            such claims are listed on each Debtor’s Schedule E/F and Statement 7, as
            applicable, they have not been set forth individually on Schedule H. Furthermore,
            the Debtors may not have identified certain guarantees that are embedded in the
            Debtors’ executory contracts, unexpired leases, secured financings, debt
            instruments and other such agreements. No claim set forth on the Schedules and
            Statements of any Debtor is intended to acknowledge claims of creditors that are
            otherwise satisfied or discharged by other Debtors or non-Debtors. If there are
            guarantees connected with any joint ventures to which the Debtors may be a party,
            such agreements are not identified in the Debtors’ Schedules. The Debtors reserve
            all of their rights to amend the Schedules to the extent that additional guarantees
            are identified or such guarantees are discovered to have expired or be
            unenforceable.



      Specific Notes With Respect to the Debtors’ Statements

      1.    Statement 1. Sales are reflected net of returns and allowances, discounts, and
            certain other adjustments. Negative revenue relates to discounts on gift cards sold
            through third parties.

            The Debtors’ fiscal year ends on the Saturday closest to January 31:

            FY 2017: Composed of 53 weeks ending February 3, 2018.

            FY 2018: Composed of 52 weeks ending February 2, 2019.

            FY 2019: Composed of 52 weeks ending February 1, 2020.

      2.    Statement 3. The obligations of the Debtors are primarily paid by and through
            J. Crew Operating Corp., notwithstanding the fact that certain obligations may be
            obligations of one or more of the affiliated Debtors or non-Debtor affiliates.

            The payments disclosed in Statement 3 are based on payments made by the Debtors
            with payment dates from February 4, 2020 to May 4, 2020. The actual dates that
            cash cleared the Debtors’ bank accounts may differ based on the form of payment.
            The Debtors’ accounts payable system does not include the corresponding payment
            clear dates and compiling this data would have required a significant manual review
            of individual bank statements. It is expected, however, that many payments
            included in Statement 3 have payment clear dates that are the same as payment
            dates (e.g., wires and other forms of electronic payments).

            The responses to Statement 3 exclude certain disbursements or transfers to creditors
            otherwise listed in Statement 9, Statement 11, and payments made on account of
            certain employee obligations including, but not limited to, medical costs and
            business expense reimbursements.

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      3.    Statement 4. The Debtors reserve all rights with respect to the determination or
            status of a person as an “insider” as defined in section 101(13) of the Bankruptcy
            Code. For more information regarding each Debtor’s officers and directors, see
            Statement 28 and Statement 29.

            Question 4 of the Statements does not account for merchandise that may have been
            moved between the Debtors’ locations because such transfers are recorded through
            ordinary course accounting entries.

            The payroll-related amount shown in response to this question, which includes,
            among other things, salary, wage, additional compensation, is a gross amount that
            does not include reductions for amounts including employee tax or benefit
            withholdings. In the ordinary course of business, certain corporate or personal
            credit cards may be utilized by insiders to pay for travel and business-related
            expenses for various other individuals employed by the Debtors. As it would be
            unduly burdensome for the Debtors to analyze which credit card expenses related
            to those incurred on behalf of an insider as opposed to another employee (or the
            Debtors), the Debtors have listed the aggregate amount paid for such expenses.
            Amounts still owed to creditors will appear on the Schedules for each of the
            Debtors.

      4.    Statement 5. On occasion, the Debtors may return damaged or unsatisfactory
            goods to vendors in the ordinary course of business. Other than ordinary course
            items, the Debtors are not aware of any property that has been returned to the seller.

      5.    Statement 6. The Debtors maintain certain customer programs, including return
            and refund programs pursuant to which customers may receive credits. Such
            transactions were not considered setoffs for the purpose of responding to Statement
            6, although the Debtors reserve all rights with respect thereto and make no
            admission of waiver thereby.

            The Debtors have otherwise used their reasonable efforts to reflect setoffs made by
            creditors without permission that they are aware of; however, there may be
            instances, including credits due to landlords, when such a setoff has occurred
            without the Debtors’ knowledge.

      6.    Statement 7. The Debtors reserve all of their rights and defenses with respect to
            any and all listed lawsuits and administrative proceedings. The listing of such suits
            and proceedings shall not constitute an admission by the Debtors of any liabilities
            or that the actions or proceedings were correctly filed against the Debtors or any
            affiliates of the Debtors. The Debtors also reserve their rights to assert that neither
            the Debtors nor any affiliate of the Debtors is an appropriate party to such actions
            or proceedings. Further, the Debtors operate in numerous jurisdictions and in the
            ordinary course of business may have disputed property valuations/tax assessments.
            The Debtors have not listed such disputes on Statement 7.



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      7.    Statement 10. The losses listed may exclude those incurred in the ordinary course
            of business or those where the amount is de minimis.

      8.    Statement 11. The Debtors have used reasonable efforts to identify payments for
            services of any entities who provided consultation concerning debt counseling or
            restructuring services, relief under the Bankruptcy Code or preparation of a petition
            in bankruptcy within one year immediately preceding the Petition Date, which are
            identified in J. Crew Operating Corp.’s response to Statement 11. Additional
            information regarding the Debtors’ retention of professional service firms is more
            fully described in the individual retention applications for those firms and related
            orders.

      9.    Statement 13. The Debtors may, from time to time and in the ordinary course of
            business, transfer equipment and other assets and sell certain equipment and other
            assets to third parties. These types of ordinary course transfers have not been
            disclosed in Statement 13. The Debtors further do not take any position with
            respect to whether transfers identified in response to Statement 13 are made in the
            ordinary course of business. Certain transfers listed in this response are included
            solely out of an abundance of caution.

            If the Debtors vacated store locations during the three years immediately preceding
            the Petition Date, information on these former store locations is contained in the
            Debtors’ response to Statement 14.

      10.   Statement 21. In the ordinary course of business, the Debtors’ corporate and retail
            locations contain various equipment and items owned by others including copy
            machines and computer hardware. Additionally, the Debtors utilize leased property
            in their ordinary course of business. Therefore, the Debtors hold property subject
            to leases listed on the Debtors’ Schedule G.

            Certain of the Debtors’ vendors sell inventory and fulfill orders through the
            Debtors’ e-commerce platforms (such vendors, the “Marketplace Vendors”). The
            Debtors do not physically possess the inventory at any time; however, the Debtors
            collect payment for the goods sold through their e-commerce platforms and pay the
            Marketplace Vendors on a monthly (or, at the Debtors’ option, more frequent) basis
            the proceeds of any goods sold, less a commission and other amounts due to the
            Debtors. Out of an abundance of caution, the Debtors have included the property
            of the Marketplace Vendors in the Debtors’ response to Statement 21, although the
            Debtors have indicated that the value of such property is “unknown” or
            “undetermined.” Although reasonable efforts have been made to ensure the
            accuracy of Statement 21, review is ongoing and inadvertent errors, omissions or
            overinclusion may have occurred.

      11.   Statement 26(d). The Debtors provided financial statements in the ordinary course
            of business to certain parties for business, statutory, credit, financing and other
            reasons. Recipients have included regulatory agencies, financial institutions,


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            investment banks, debtholders, and their legal and financial advisors. Financial
            statements have also been provided to other parties as requested.

      12.   Statement 27. The amounts listed in the response to Statement 27 include all
            inventory held by the Debtors in retail locations.

      13.   Statement 29. Disclosures relate specifically to terminated job titles or positions
            and are not indicative of the individuals’ current employment status with the
            Debtors.

      14.   Statement 30. Any and all known disbursements to insiders of the Debtors have
            been listed in the response to Statement 4. The items listed under Statement 30
            incorporate by reference any items listed under Statement 4, and vice versa.




                                   ***********************




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Debtor Name               Chinos Holdings, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                         20-32181

                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                   amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                             12/15



  Part 1:         Summary of Assets


  1. Schedule A/B: Assets - Real and Personal Property                                   (Official Form 206A/B)

    1a. Real property:
        Copy line 88 from Schedule A/B.......................................................................................................................                             $0.00



    1b. Total personal property:
        Copy line 91A fromSchedule A/B.....................................................................................................................                     $74,999,069.35



    1c. Total of all property:
        Copyline 92 from Schedule A/B.......................................................................................................................                    $74,999,069.35




  Part 2:         Summary of Liabilities




    2.    Schedule D: Creditors Who Have Claims Secured by Property             (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...........................                                                           $0.00



    3.    Schedule E/F: Creditors Who Have Unsecured Claims                                      (Official Form 206E/F)


         3a. Total of amounts of priority unsecured claims:
             Copy the total claims from Part 1 from the line 5a of Schedule E/F.............................................................                                               $0.00



         3b. Total amount of claims of nonpriority amount of unsecured claims:
             Copy the total amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                     +             $0.00




         4.   Total liabilities .........................................................................................................................................                 $0.00
              Lines 2 + 3a + 3b
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Debtor Name            Chinos Holdings, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                20-32181
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing
Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases         (Official Form 206G).

Be complete and accurate as possible. If more space is needed, attach a separate spreadsheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the approriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest,
do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:        Cash and cash equivalents




 1.      Does the debtor have any cash or cash equivalents?


            No. Go to Part 2.

            Yes. Fill in the information below.



              All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                                      debtor's interest
 2.      Cash on hand



 3.      Checking, savings, money market, or financial brokerage accounts
         Name of institution (bank or brokerage firm)                   Type of account                     Last 4 digits of account number

   3.1       Wells Fargo                                                 Disbursements                       2998                               $1,774.19


 4.      Other cash equivalents




 5.      Total of Part 1
                                                                                                                                                $1,774.19
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


Part 2:        Deposits and prepayments




 6.      Does the debtor have any deposits or prepayments?




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Debtor Chinos Holdings, Inc.                                                                            Case Number (if known) 20-32181


          No. Go to Part 3.

          Yes. Fill in the information below.



                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
 7.   Deposits, including security deposits and utility deposits
      Description, including name of holder of deposit




 8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
      Description, including name of holder of prepayment




 9.   Total of Part 2
      Add lines 7 through 8. Copy the total to line 81.


Part 3:      Accounts Receivable




 10. Does the debtor have any accounts receivable?


          No. Go to Part 4.

          Yes. Fill in the information below.



                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
 11. Accounts receivable


      11a. 90 days old or less:                                                -                                   =
                                          face amount                              doubtful or uncollectible accounts
      11b. Over 90 days old:                                                   -                                   =
                                          face amount                              doubtful or uncollectible accounts



 12. Total of Part 3
      Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments




 13. Does the debtor own any investments?


          No. Go to Part 5.

          Yes. Fill in the information below.



   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 2
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                                                                                                             Valuation method         Current value of
                                                                                                             used for current value   debtor's interest
 14. Mutual funds of publicly traded stocks not included in Part 1
      Name of fund or stock:




 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
      Name of entity:                                           % of ownership:

   15.1   Chinos Intermediate Holdings A, Inc.                        100%

   15.2   Chinos Intermediate , Inc.                                  300,000 Shares of Series A Preferred
                                                                      Stock of Chinos Intermediate, Inc.


 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:




 17. Total of Part 4
      Add lines 14 through 16. Copy the total to line 83.


Part 5:      Inventory, excluding agricultural assets




 18. Does the debtor own any inventory (excluding agricultual assets)?


          No. Go to Part 6.

          Yes. Fill in the information below.



           General description                   Date of the last      Net book value of                     Valuation method         Current value of
                                                 physical inventory    debtor's interest                     used for current value   debtor's interest
 19. Raw Materials




 20. Work in progress




 21. Finished goods, including goods held for resale




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                    Page 3
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 22. Other inventory or supplies




 23. Total of Part 5
      Add lines 19 through 22. Copy the total to line 84.




 24. Is any of the property listed in Part 5 perishable?


          No.

          Yes.




 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.       Book Value $                           Valuation Method                         Current Value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?


          No.

          Yes.



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)




 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


          No. Go to Part 7.

          Yes. Fill in the information below.



           General description                                         Net book value of                   Valution method used   Current value of
                                                                       debtor's interest                   for current value      debtor's interest
 28. Crops - either planted of harvested




 29. Farm animals
      Examples: Livestock, poultry, farm-raised fish




   Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                              Page 4
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30. Farm machinery and equipment
     (Other than titled motor vehicles)




31. Farm and fishing supplies, chemicals, and feed




32. Other farming and fishing-related property not already listed in Part 6




33. Total of Part 6
     Add lines 28 through 32. Copy the total to line 85.




34. Is the debtor a member of an agricultural cooperative?


        No.

        Yes.




     Is any of the debtor's property stored at the cooperative?


        No.

        Yes.




35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?


        No.

        Yes.       Book Value $                            Valuation Method                       Current Value $



36. Is a depreciation schedule available for any of the property listed in Part 6?


        No.

        Yes.




  Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                          Page 5
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 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


          No.

          Yes.



Part 7:      Office furniture, fixtures, and equipment; and collectibles




 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


          No. Go to Part 8.

          Yes. Fill in the information below.



           General description                                           Net book value of                        Valuation method           Current value of
                                                                         debtor's interest                        used for current value     debtor's interest
 39. Office furniture




 40. Office fixtures




 41. Office equipment, including all computer equipment and communication systems equipment and software




 42. Collectibles
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or
      baseball card collections; other collections, memorabilia, or collectibles




 43. Total of Part 7.
      Add lines 39 through 42. Copy the total to line 86.




 44. Is a depreciation schedule available for any of the property listed in Part 7?


          No.

          Yes.




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                          Page 6
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Debtor Chinos Holdings, Inc.                                                                       Case Number (if known) 20-32181




 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


          No.

          Yes.



Part 8:      Machinery, equipment, and vehicles




 46. Does the debtor own or lease any machinery, equipment, or vehicles?


          No. Go to Part 9.

          Yes. Fill in the information below.



           General description                                         Net book value of                 Valuation method         Current value of
                                                                       debtor's interest                 used for current value   debtor's interest
 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles




 48. Watercraft, trailers, motors, and related accessories
      Examples: Boats, trailers, motors, floating homes, personal watercraft, fishing vessels




 49. Aircraft and accessories




 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.




 52. Is a depreciation schedule available for any of the property listed in Part 8?


          No.

          Yes.




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 7
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Debtor Chinos Holdings, Inc.                                                                             Case Number (if known) 20-32181




 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?


           No.

           Yes.



Part 9:       Real property




 54. Does the debtor own or lease any real property?


           No. Go to Part 10.

           Yes. Fill in the information below.




 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


      Description and location of property                Nature and extent of    Net book value of debtor's Valuation method       Current value of
                                                          debtor's interest in    interest                   used for current value debtor's interest
                                                          property




 56. Total of Part 9.
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




 57. Is a depreciation schedule available for any of the property listed in Part 9?


           No.

           Yes.




 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?


           No.

           Yes.



Part 10:      Intangibles and intellectual property




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59. Does the debtor have any interests in intangibles or intellectual property?


        No. Go to Part 11.

        Yes. Fill in the information below.



          General description                                       Net book value of                   Valuation method         Current value of
                                                                    debtor's interest                   used for current value   debtor's interest
60. Patents, copyrights, trademarks, or trade secrets




61. Internet domain names and websites




62. Licenses, franchises, and royalties




63. Customer lists, mailing lists, or other compilations




64. Other intangibles, or intellectual property




65. Goodwill




66. Total of Part 10.
     Add lines 60 through 65. Copy the total to line 89.




67. Do your lists or records include personally identifiable information of customers?


        No.

        Yes.




  Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 9
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Debtor Chinos Holdings, Inc.                                                                              Case Number (if known) 20-32181




 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?


           No.

           Yes.




 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


           No.

           Yes.



Part 11:      All other assets




 70. Does the debtor own any other assets that have not yet been reported on this form?


           No. Go to Part 12.

           Yes. Fill in the information below.



                                                                                                                                    Current value of
                                                                                                                                    debtor's interest
 71. Notes receivable
      Description (include name of obligor)

                                                                                      -                                 =

                                                                 Total face amount        Doubtful or uncollectible amount
 72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)

   72.1    See attached AB Exhibit 72                                                                                                   $27,121,101.00


 73. Interests in insurance policies or annuities




 74. Causes of action against third parties (whether or not a lawsuit has
     been filed)




       Nature of claim
       Amount Requested




   Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                              Page 10
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75. Other contingent and unliquidated claims or causes of action of every
    nature, including counterclaims of the debtor and rights to set off
    claims




      Nature of claim
      Amount Requested
76. Trusts, equitable or future interests in property




77. Other property of any kind not already listed
     Examples: Season tickets, country club membership

  77.1   Intercompany receivable                                                                                               $47,876,194.16




78. Total of Part 11.
                                                                                                                               $74,997,295.16
     Add lines 71 through 77. Copy the total to line 90.




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


         No.

         Yes.




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Debtor Chinos Holdings, Inc.                                                                                                    Case Number (if known) 20-32181

Part 12:    Summary

           Type of property                                                                        Current value of                                        Current value of
                                                                                                   personal property                                       real property


   80. Cash, cash equivalents, and financial assets.              Copy line 5, Part 1.                             $1,774.19


   81. Deposits and prepayments.          Copy line 9, Part 2.


   82. Accounts receivable.       Copy line 12, Part 3.


   83. Investments. Copy line 17, Part 4.


   84. Inventory. Copy line 23, Part 5.


   85. Farming and fishing-related assets.          Copy line 33, Part 6.



   86. Office furniture, fixtures, and equipment; and collectibles.
       Copy line 43, Part 7.


   87. Machinery, equipment, and vehicles.             Copy line 51, Part 8.


   88. Real Property.      Copy line 56, Part 9.



   89. Intangibles and intellectual property.          Copy line 66, Part 10.


   90. All other assets.      Copy line 78, Part 11.                                                        $74,997,295.16



   91. Total. Add lines 80 through 90 for each column.                                    91a.                $74,999,069.35             + 91b.                             $0.00



   92. Total of all property on Schedule A/B.          Lines 91a + 91b = 92..............................................................................................     $74,999,069.35




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                                                     Page 12
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          SCHEDULES OF ASSETS AND LIABILITIES

                      EXHIBIT FOR SCHEDULE AB

                         PART 11, QUESTION 72

     TAX REFUNDS AND UNUSED NET OPERATING LOSSES
                       (NOLS)
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Chinos Holdings, Inc.
Case No. 20-32181
Schedule AB Question 72: Tax refunds and unused net operating losses (NOLs)

                                                                                         Current Value of
                                 Description                           Tax Year
                                                                                         Debtor's Interest
   Amended Returns                                                                2013        $5,862,999.00
   Amended Returns                                                                2014         $777,047.00
   NOL Carryover                                                                  2017        $7,409,224.00
   NOL Carry Back Claim                                                           2018       $13,071,831.00
   The consolidated tax group for which Chinos Holdings, Inc.
   is parent possesses certain tax assets, including, as of
   February 1, 2020, carryforwards of disallowed business
   interest expense of approximately $148 million and
   carryforwards of unused general business credits of
   approximately $1.3 million, and as of May 4, 2020, book
   losses before interest expense for the current tax year of
   approximately $180 million (which are expected to result in
   NOLs). Such tax assets may be affected by certain amended
   tax returns subsequently filed or contemplated to be filed
   by the debtors in order to benefit from the Coronavirus Aid,
   Relief, and Economic Security Act (CARES Act), Pub. L. No.
   116-136 and/or subject to challenge or adjustment by the
   Internal Revenue Service.
   Total:                                                                                    $27,121,101.00




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Debtor Name           Chinos Holdings, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                  20-32181                                                                                                              Check if this is an
                                                                                                                                                               amended filing
Official Form 206D
Schedule D - Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible
1. Do any creditors have claims secured by debtor's property?
    X No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
  Part 1:         List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one
                                                                                                                                       Amount of Claim            Value of collateral
   secured claim, list the creditor separately for each claim.                                                                           Do not deduct the        that supports this
                                                                                                                                         value of collateral      claim
      Creditor's name                                                  Describe debtor's property that is subject to a lien

      NONE
      Creditor's mailing address



                                                                       Describe the lien


      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred                                               No
                                                                           Yes

                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Specify each creditor, including this creditor       As of the petition filing date, the claim is:
             and its relative priority.
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines




 Official Form 206D                                                Schedule D: Creditors Who Have Claims Secured by Property                          1 of 1
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United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):               20-32181                                                                                         Check if this is an
                                                                                                                                       amended filing
Official Form 206E/F
Schedule E/F - Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

  Part 1:        List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?
       No. Go to Part 2.
      X Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                                Total claim             Priority amount
                                                                                                                    UNKNOWN                     UNKNOWN
2.1        Priority creditor's name and mailing address         As of the petition filing date, the claim is:
           UNITED STATES DEPARTMENT OF THE TREASURY
                                                                 X Contingent
                                                                 X Unliquidated
                                                                 X Disputed

                                                                Basis for the claim:
           Date or dates debt was incurred
                                                                TAXES
           Unknown

           Last 4 digits of account
           number                                               Is the claim subject to offset?
                                                                     No
           Specify Code subsection of PRIORITY unsecured             Yes
           claim: 11 U.S.C. § 507(a) ( 8    )




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                1 of 3
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   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                   Amount of claim

3.1      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   Unknown
         AHMED KAMAL
         C/O FRANK LLP                                                     X Contingent
         ATTN: MARVIN L FRANK
         370 LEXINGTON AVE
                                                                           X Unliquidated
         NEW YORK, NY 10017                                                X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   LITIGATION

         1/9/2015
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.2      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 UNKNOWN
         LEONARD GREEN & PARTNERS
         11111 SANTA MONICA BLVD, STE 2000                                 X Contingent
         LOS ANGELES, CA 90025
                                                                           X Unliquidated
                                                                           X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MANAGEMENT SERVICES

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.3      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 UNKNOWN
         TPG CAPITAL
                                                                           X Contingent
                                                                           X Unliquidated
                                                                           X Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MANAGEMENT SERVICES

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                            2 of 3
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   Part 4:        Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1                                                                                 $0.00


5b. Total claims from Part 2                                                                                 $0.00



5c. Total claims of Parts 1 and 2
                                                                                                             $0.00
    Lines 5a + 5b = 5c




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims        3 of 3
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United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                20-32181


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B)


                                                                                            State the name and mailing address for all other parties with
 2. List all contracts and unexpired leases                                                 whom the debtor has an executory contract or unexpired lease

         State what the contract or     INSURANCE POLICY                                     AIG
         lease is for and the nature    EMPLOYMENT EDGE EMPLOYMENT PRACTICES                 FINANCIAL LINES CLAIMS
2.1                                     LIABILITY INSURANCE POLICY                           P.O. BOX 25947
         of the debtor's interest
                                                                                             SHAWNEE MISSION, KS 66225


         State the term remaining       04/30/2019 - 04/30/2020
         List the contract number of
         any government contract


         State what the contract or     INSURANCE POLICY                                     AIG
         lease is for and the nature    FIDUCIARY LIABILITY INSURANCE EDGE EMPLOYEE          FINANCIAL LINES CLAIMS
2.2                                     BENEFIT PLAN FIDUCIARY LIABILITY INSURANCE           P.O. BOX 25947
         of the debtor's interest
                                        POLICY                                               SHAWNEE MISSION, KS 66225


         State the term remaining       04/30/2019 - 04/30/2020
         List the contract number of
         any government contract


         State what the contract or     INSURANCE POLICY                                     AIG
         lease is for and the nature    EXCESS EDGE                                          FINANCIAL LINES CLAIMS
2.3                                                                                          P.O. BOX 25947
         of the debtor's interest
                                                                                             SHAWNEE MISSION, KS 66225


         State the term remaining       05/14/2019 - 05/14/2020
         List the contract number of
         any government contract


         State what the contract or     INSURANCE POLICY                                     AIG DOMESTIC CLAIMS, INC
         lease is for and the nature    POLICY NUMBER: 01-417-73-86                          175 WATER ST
2.4                                                                                          NEW YORK, NY 10038
         of the debtor's interest


         State the term remaining       05/14/2019 - 05/14/2020
         List the contract number of
         any government contract


         State what the contract or     INSURANCE POLICY                                     AIG SPECIALTY INSURANCE COMPANY
         lease is for and the nature    POLICY NUMBER: 01-417-73-86                          175 WATER ST
2.5                                                                                          NEW YORK, NY 10038
         of the debtor's interest


         State the term remaining       05/14/2019 - 05/14/2020
         List the contract number of
         any government contract



  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                         Page 1 of 15
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          Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease
          State what the contract or    INSURANCE POLICY                             ALLIANZ GLOBAL RISKS US INSURANCE COMPANY
          lease is for and the nature   ALLIANZ INSURANCE POLICY                     225 WEST WASHINGTON ST, STE 1800
2.6                                                                                  CHICAGO, IL 60606-3484
          of the debtor's interest


          State the term remaining      05/14/2019 - 05/14/2020
          List the contract number of
          any government contract


          State what the contract or    INSURANCE POLICY                             ALLIANZ GLOBAL RISKS US INSURANCE COMPANY
          lease is for and the nature   ALLIANZ INSURANCE POLICY                     ATTN: CLAIMS DEPT
2.7                                                                                  1 PROGRESS POINT PKWY, 2ND FL
          of the debtor's interest
                                                                                     O'FALLON, MO 63368


          State the term remaining      05/14/2019 - 05/14/2020
          List the contract number of
          any government contract


          State what the contract or    INSURANCE POLICY                             AON RISK SERVICES NORTHEAST INC.
          lease is for and the nature   STARR CORPORATE NON-OWNED AIRCRAFT           ONE LIBERTY PLAZA
2.8                                     INSURANCE POLICY DECLARATIONS                165 BROADWAY, STE 3201
          of the debtor's interest
                                                                                     NEW YORK, NY 10006


          State the term remaining      12/18/2019 - 12/18/2020
          List the contract number of
          any government contract


          State what the contract or    INSURANCE POLICY                          ARGO GROUP US
          lease is for and the nature   ARGO FLEX-XS FOLLOW FORM EXCESS INSURANCE INSURER HOME OFFICE ADDRESS
2.9                                     POLICY                                    175 E HOUSTON ST, STE 1300
          of the debtor's interest
                                                                                  SAN ANTONIO, TX 78205


          State the term remaining      05/14/2019 - 05/14/2020
          List the contract number of
          any government contract


          State what the contract or    INSURANCE POLICY                          ARGO GROUP US
          lease is for and the nature   ARGO FLEX-XS FOLLOW FORM EXCESS INSURANCE INSURER ADMINISTRATION OFFICE
2.10                                    POLICY                                    225 W WASHINGTON ST, 24TH FL
          of the debtor's interest
                                                                                  CHICAGO, IL 60606


          State the term remaining      05/14/2019 - 05/14/2020
          List the contract number of
          any government contract


          State what the contract or    INSURANCE POLICY                          ARGO GROUP US
          lease is for and the nature   ARGO FLEX-XS FOLLOW FORM EXCESS INSURANCE MANAGEMENT LIABILITY - CLAIMS
2.11                                    POLICY                                    413 W 14TH ST
          of the debtor's interest
                                                                                  NEW YORK, NY 10014


          State the term remaining      05/14/2019 - 05/14/2020
          List the contract number of
          any government contract




  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases              Page 2 of 15
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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                          ARGO GROUP US
       lease is for and the nature   ARGO FLEX-XS FOLLOW FORM EXCESS INSURANCE GENERAL COUNSEL
2.12                                 POLICY                                    P.O. BOX 469011
       of the debtor's interest
                                                                               SAN ANTONIO, TX 78246


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                          ARGONAUT INSURANCE COMPANY
       lease is for and the nature   ARGO FLEX-XS FOLLOW FORM EXCESS INSURANCE
2.13                                 POLICY
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AXA XL
       lease is for and the nature   EXCESS ERRORS AND OMISSIONS POLICY           C/O XEROX
2.14                                 DECLARATIONS                                 P.O. BOX 614002
       of the debtor's interest
                                                                                  ORLANDO, FL 32861-4002


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AXIS INSURANCE
       lease is for and the nature   AXIS EXCESS INSURANCE                        CLAIMS DEPT
2.15                                                                              P.O. BOX 4470
       of the debtor's interest
                                                                                  ALPHARETTA, GA 30023-4470


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AXIS INSURANCE
       lease is for and the nature   AXIS EXCESS INSURANCE                        11680 GREAT OAKS WAY, STE 500
2.16                                                                              ALPHARETTA, GA 30022
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             AXIS INSURANCE COMPANY
       lease is for and the nature   AXIS EXCESS INSURANCE                        111 SOUTH WACKER DR, STE 3500
2.17                                                                              CHICAGO, IL 60606
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract




  Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases              Page 3 of 15
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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             BEAZLEY GROUP
       lease is for and the nature   POLICY NUMBER: V1D489190301                  ATTN: TMB CLAIMS GROUP
2.18                                                                              1270 AVE OF THE AMERICAS, 12TH FL
       of the debtor's interest
                                                                                  NEW YORK, NY 10020


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BEAZLEY INSURANCE COMPANY, INC
       lease is for and the nature   POLICY NUMBER: V1D489190301                  PLANTATION PLACE SOUTH
2.19                                                                              60 GREAT TOWER ST
       of the debtor's interest
                                                                                  LONDON, EC3R 5AD
                                                                                  UNITED KINGDOM

       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BEAZLEY INSURANCE COMPANY, INC
       lease is for and the nature   POLICY NUMBER: V1D489190301                  101 CALIFORNIA ST, STE 1850
2.20                                                                              SAN FRANCISCO, CA 94111
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BEAZLEY INSURANCE COMPANY, INC
       lease is for and the nature   POLICY NUMBER: V1D489190301                  2 LIBERTY PL
2.21                                                                              50 S 16TH ST, STE 2700
       of the debtor's interest
                                                                                  PHILADELPHIA, PA 19102


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BEAZLEY INSURANCE COMPANY, INC
       lease is for and the nature   MANAGEMENT LIABILITY AND PROFESSIONAL        2 LIBERTY PL
2.22                                 LIABILITY FOLLOW FORM EXCESS                 50 S 16TH ST, STE 2700
       of the debtor's interest
                                                                                  PHILADELPHIA, PA 19102


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             BEAZLEY USA SERVICES INC
       lease is for and the nature   POLICY NUMBER: V1D489190301                  30 BATTERSON PARK RD
2.23                                                                              FARMINGTON, CT 06032
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             CANOPIUS INSURANCE SERVICES
       lease is for and the nature   XS PACT FOLLOW FORM INSURANCE POLICY         140 BROADWAY, STE 2210
2.24                                                                              NEW YORK, NY 10005
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             CANOPIUS INSURANCE SERVICES
       lease is for and the nature   XS PACT FOLLOW FORM INSURANCE POLICY         140 BROADWAY, STE 2210
2.25                                                                              NEW YORK, NY 10005
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             CHUBB
       lease is for and the nature   POLICYHOLDER NOTICE COMMERCIAL LINES         NOTICE OF CLAIM
2.26                                 DEREGULATION NEW YORK                        P.O. BOX 5119
       of the debtor's interest
                                                                                  SCRANTON, PA 18505-0549


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             CNA
       lease is for and the nature   DECLARATIONS EXCESS INSURANCE POLICY         200 GLASTONBURY BLVD, STE 200
2.27                                                                              GLASTONBURY, CT 06033
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             CNA - CLAIMS REPORTING
       lease is for and the nature   DECLARATIONS EXCESS INSURANCE POLICY         P.O. BOX 8317
2.28                                                                              CHICAGO, IL 60680-8317
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             CNA INSURANCE COMPANY
       lease is for and the nature   DECLARATIONS EXCESS INSURANCE POLICY         OPEN BROKERAGE GLOBAL SPECIALTY LINES
2.29                                                                              125 BROAD ST, 8TH FL
       of the debtor's interest
                                                                                  NEW YORK, NY 10004


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             COMMERCIAL MANAGEMENT LIABILITY
       lease is for and the nature   NEW YORK FOLLOW FORM EXCESS MANAGEMENT       ATTN: CLAIMS DEPT
2.30                                 LIABILITY INSURANCE DECLARATIONS             1221 AVE OF THE AMERICAS
       of the debtor's interest
                                                                                  NEW YORK, NY 10020


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             COMMERCIAL MANAGEMENT LIABILITY
       lease is for and the nature   NEW YORK FOLLOW FORM EXCESS MANAGEMENT       ATTN: PROFESSIONAL LINES UNDERWRITING DEPT
2.31                                 LIABILITY INSURANCE DECLARATIONS             1221 AVE OF THE AMERICAS
       of the debtor's interest
                                                                                  NEW YORK, NY 10020


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    WORK ORDER                                   DELOITTE TAX LLP
       lease is for and the nature   NUMBER: TAX 1-2020                           2 JERICHO PLAZA
2.32                                                                              JERICHO, NY 11753
       of the debtor's interest


       State the term remaining      03/01/2020 - 02/28/2021
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             ENDURANCE AMERICAN INSURANCE COMPANY
       lease is for and the nature   NEW YORK FOLLOW FORM EXCESS MANAGEMENT       1221 AVE OF THE AMERICAS
2.33                                 LIABILITY INSURANCE DECLARATIONS             NEW YORK, NY 10020
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             FREEDOM SPECIALTY INSURANCE COMPANY
       lease is for and the nature   EXCESS INSURANCE POLICY                      8877 NORTH GAINEY CENTER DR
2.34                                                                              SCOTTSDALE, AZ 85258
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             FREEDOM SPECIALTY INSURANCE COMPANY
       lease is for and the nature   EXCESS INSURANCE POLICY                      HOME OFFICE
2.35                                                                              ONE NATIONWIDE PLZ
       of the debtor's interest
                                                                                  COLUMBUS, OH 43215


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
       State what the contract or    INSURANCE POLICY                          HISCOX CLAIMS
       lease is for and the nature   FOLLOW-FORM EXCESS INSURANCE DECLARATIONS 520 MADISON AVE, 32ND FL
2.36                                                                           NEW YORK, NY 10022
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                          HISCOX INSURANCE COMPANY INC
       lease is for and the nature   FOLLOW-FORM EXCESS INSURANCE DECLARATIONS 104 SOUTH MICHIGAN AVE, STE 600
2.37                                                                           CHICAGO, IL 60603
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              HUDSON FINANCIAL PRODUCTS
       lease is for and the nature   TRUXS EXCESS LIABILITY INSURANCE POLICY       176 MINEOLA BLVD, 2ND FL
2.38                                                                               MINEOLA, NY 11501
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              HUDSON INSURANCE COMPANY
       lease is for and the nature   TRUXS EXCESS LIABILITY INSURANCE POLICY       ATTN: D&O CLAIMS
2.39                                                                               100 WILLIAM ST, 5TH FL
       of the debtor's interest
                                                                                   NEW YORK, NY 10038


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              ILLINOIS NATIONAL INSURANCE COMPANY
       lease is for and the nature   FIDUCIARY LIABILITY INSURANCE EDGE EMPLOYEE   175 WATER ST
2.40                                 BENEFIT PLAN FIDUCIARY LIABILITY INSURANCE    NEW YORK, NY 10038-4969
       of the debtor's interest
                                     POLICY


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              ILLINOIS NATIONAL INSURANCE COMPANY
       lease is for and the nature   EXCESS EDGE                                   175 WATER ST
2.41                                                                               NEW YORK, NY 10038
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             IRONSHORE INDEMNITY INC
       lease is for and the nature   EXCESS LIABILITY INSURANCE POLICY            P.O. BOX 3407
2.42                                 DECLARATIONS - NEW YORK                      NEW YORK, NY 10008
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             IRONSHORE INSURANCE SERVICES, LLC
       lease is for and the nature   EXCESS LIABILITY INSURANCE POLICY            28 LIBERTY ST, 5TH FL
2.43                                 DECLARATIONS - NEW YORK                      NEW YORK, NY 10005
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    MANAGEMENT SERVICES AGREEMENT                LEONARD GREEN & PARTNERS
       lease is for and the nature                                                ATTN: JAMES D. HALPER/TODD M. PURDY
2.44                                                                              11111 SANTA MONICA BLVD, STE 2000
       of the debtor's interest
                                                                                  LOS ANGELES, CA 90025


       State the term remaining      07/13/2020 - 31/12/2021
       List the contract number of
       any government contract


       State what the contract or    EMPLOYMENT AGREEMENT                         LIBBY WADLE
       lease is for and the nature                                                49 N 8TH ST, APT 3D
2.45                                                                              BROOKLYN, NY 11211
       of the debtor's interest


       State the term remaining      Term Not Stated
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             LIBERTY INSURANCE UNDERWRITERS INC
       lease is for and the nature   MANAGEMENT LIABILITY AND PROFESSIONAL        55 WATER ST, 23RD FL
2.46                                 LIABILITY FOLLOW FORM EXCESS                 NEW YORK, NY 10041
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             MARKEL AMERICAN INSURANCE COMPANY
       lease is for and the nature   EXCESS FOLLOW FORM POLICY DECLARATIONS       4521 HIGHWOODS PARKWAY
2.47                                                                              GLEN ALLEN, VA 23060
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             MARKEL AMERICAN INSURANCE COMPANY
       lease is for and the nature   EXCESS FOLLOW FORM POLICY DECLARATIONS       CLAIMS MANAGER
2.48                                                                              P.O. BOX 2009
       of the debtor's interest
                                                                                  GLEN ALLEN, VA 23058


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             MARKEL AMERICAN INSURANCE COMPANY
       lease is for and the nature   EXCESS FOLLOW FORM POLICY DECLARATIONS       UNDERWRITING DEPT
2.49                                                                              1185 AVE OF THE AMERICAS
       of the debtor's interest
                                                                                  NEW YORK, NY 10036


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             MSG-SPECIALTY E&O
       lease is for and the nature   ZURICH EXCESS SELECT INSURANCE POLICY        ZURICH NORTH AMERICAN
2.50                                                                              150 GREENWICH ST
       of the debtor's interest
                                                                                  NEW YORK, NY 10007


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             NATIONAL CASUALTY COMPANY
       lease is for and the nature   EXCESS INSURANCE POLICY                      8877 NORTH GAINEY CENTER DR
2.51                                                                              SCOTTSDALE, AZ 85258
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             NATIONAL CASUALTY COMPANY
       lease is for and the nature   EXCESS INSURANCE POLICY                      HOME OFFICE
2.52                                                                              ONE NATIONWIDE PLZ
       of the debtor's interest
                                                                                  COLUMBUS, OH 43215


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             NATIONAL MANAGEMENT LIABILITY & SPECIALTY
       lease is for and the nature   EXCESS INSURANCE POLICY                      ATTN: CLAIMS MANAGER
2.53                                                                              7 WORLD TRADE CENTER, 37TH FL
       of the debtor's interest
                                                                                  250 GREENWICH ST
                                                                                  NEW YORK, NY 10007-0033

       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA
       lease is for and the nature   EMPLOYMENT EDGE EMPLOYMENT PRACTICES         175 WATER ST
2.54                                 LIABILITY INSURANCE POLICY                   NEW YORK, NY 10038-4969
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA
       lease is for and the nature   POLICY NUMBER: 01-417-73-86                  175 WATER ST
2.55                                                                              NEW YORK, NY 10038-4969
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA
       lease is for and the nature   POLICYHOLDER NOTICE COMMERCIAL LINES         175 WATER ST
2.56                                 DEREGULATION NEW YORK                        NEW YORK, NY 10038-4969
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             NATIONWIDE MANAGEMENT LIABILITY & SPECIALTY
       lease is for and the nature   EXCESS INSURANCE POLICY                      ATTN: CLAIMS MANAGER
2.57                                                                              7 WORLD TRADE CENTER, 37TH FL
       of the debtor's interest
                                                                                  250 GREENWICH ST
                                                                                  NEW YORK, NY 10007-0033

       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             QBE INSURANCE CORPORATION
       lease is for and the nature   THE EXECUTIVE DECLARATIONS - NEW YORK        ATTN: THE CLAIMS MANAGER
2.58                                                                              55 WATER ST
       of the debtor's interest
                                                                                  NEW YORK, NY 10041


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             QBE INSURANCE CORPORATION
       lease is for and the nature   THE EXECUTIVE DECLARATIONS - NEW YORK        ATTN: UNDERWRITING
2.59                                                                              55 WATER ST
       of the debtor's interest
                                                                                  NEW YORK, NY 10041


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             QBE INSURANCE CORPORATION
       lease is for and the nature   THE EXECUTIVE DECLARATIONS - NEW YORK        HOME OFFICE
2.60                                                                              C/O CT CORPORATION
       of the debtor's interest
                                                                                  116 PINE ST, STE 320
                                                                                  HARRISBURG, PA 17101

       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             RSUI INDEMNITY COMPANY
       lease is for and the nature   NEW YORK - EXCESS LIABILITY POLICY           945 E PACES FERRY RD, STE 1800
2.61                                 DECLARATIONS                                 ATLANTA, GA 30326
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             SOMPO INTERNATIONAL
       lease is for and the nature   NEW YORK FOLLOW FORM EXCESS MANAGEMENT
2.62                                 LIABILITY INSURANCE DECLARATIONS
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             STARR INDEMNITY & LIABILITY COMPANY
       lease is for and the nature   STARR CORPORATE NON-OWNED AIRCRAFT           399 PARK AVE
2.63                                 INSURANCE POLICY DECLARATIONS                NEW YORK, NY 10022
       of the debtor's interest


       State the term remaining      12/18/2019 - 12/18/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             TPG
       lease is for and the nature   POLICY NUMBER: 01-417-73-86                  345 CALIFORNIA ST, STE 3300
2.64                                                                              SAN FRANCISCO, CA 94104
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    MANAGEMENT SERVICES AGREEMENT                TPG CAPITAL, L.P.
       lease is for and the nature                                                ATTN: ADAM FLISS
2.65                                                                              301 COMMERCE STREET, STE 3300
       of the debtor's interest
                                                                                  FORT WORTH, TX 76102


       State the term remaining      07/13/2020 - 31/12/2021
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease
       State what the contract or    LETTER AGREEMENT                              VANDERBILT MPD CORPORATION
       lease is for and the nature   LEASE MANCHESTER CENTER, VT                   P.O. BOX 1317
2.66                                                                               MANCHESTER CENTER
       of the debtor's interest
                                                                                   , VT 05255


       State the term remaining      03/27/2012 -03/31/2023
       List the contract number of
       any government contract


       State what the contract or    EMPLOYMENT AGREEMENT                          VINCENT ZANNA
2.67   lease is for and the nature
       of the debtor's interest


       State the term remaining      01/16/2020 - N/A
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              WESTCHESTER FIRE INSURANCE COMPANY
       lease is for and the nature   POLICYHOLDER NOTICE COMMERCIAL LINES
2.68                                 DEREGULATION NEW YORK
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              WESTCHESTER SPECIALTY GROUP
       lease is for and the nature   POLICYHOLDER NOTICE COMMERCIAL LINES          ATTN: PROFESSIONAL LIABILITY DEPT
2.69                                 DEREGULATION NEW YORK                         ROYAL CENTER TWO
       of the debtor's interest
                                                                                   11575 GREAT OAKS WAY, STE 200
                                                                                   ALPHARETTA, GA 30022

       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              WILLIS OF NEW YORK INC
       lease is for and the nature   EMPLOYMENT EDGE EMPLOYMENT PRACTICES          200 LIBERTY ST, 7TH FL
2.70                                 LIABILITY INSURANCE POLICY                    NEW YORK, NY 10281-1003
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                              WILLIS OF NEW YORK INC
       lease is for and the nature   FIDUCIARY LIABILITY INSURANCE EDGE EMPLOYEE   200 LIBERTY ST, 7TH FL
2.71                                 BENEFIT PLAN FIDUCIARY LIABILITY INSURANCE    NEW YORK, NY 10281-1003
       of the debtor's interest
                                     POLICY


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   POLICY NUMBER: 01-417-73-86                  200 LIBERTY ST, 7TH FL
2.72                                                                              NEW YORK, NY 10281-1003
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   EXCESS EDGE                                  200 LIBERTY ST, 7TH FL
2.73                                                                              NEW YORK, NY 10281-1003
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   ALLIANZ INSURANCE POLICY                     200 LIBERTY ST, 7TH FL
2.74                                                                              NEW YORK, NY 10281-1003
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                          WILLIS OF NEW YORK INC
       lease is for and the nature   ARGO FLEX-XS FOLLOW FORM EXCESS INSURANCE 200 LIBERTY ST, 7TH FL
2.75                                 POLICY                                    NEW YORK, NY 10281
       of the debtor's interest


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   DECLARATIONS EXCESS INSURANCE POLICY         200 LIBERTY ST, 7TH FL
2.76                                                                              BROOKFIELD PL
       of the debtor's interest
                                                                                  NEW YORK, NY 10281


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   EXCESS LIABILITY INSURANCE POLICY            TOM MERINGER
2.77                                 DECLARATIONS - NEW YORK                      200 LIBERTY ST, 6TH FL
       of the debtor's interest
                                                                                  ONE WORLD FINANCIAL CENTER
                                                                                  NEW YORK, NY 10281

       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract




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Debtor Name         Chinos Holdings, Inc.
                                                 Document    Page 51 of 54 Case number (if known): 20-32181

       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   NEW YORK FOLLOW FORM EXCESS MANAGEMENT       BROOKFIELD PL
2.78                                 LIABILITY INSURANCE DECLARATIONS             200 LIBERTY ST
       of the debtor's interest
                                                                                  NEW YORK, NY 10281


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   EXCESS ERRORS AND OMISSIONS POLICY           BROOKFIELD PL
2.79                                 DECLARATIONS                                 200 LIBERTY ST, 6TH FL
       of the debtor's interest
                                                                                  NEW YORK, NY 10281


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             WILLIS OF NEW YORK INC
       lease is for and the nature   AXIS EXCESS INSURANCE                        BROOKFIELD PL
2.80                                                                              200 LIBERTY ST, 7TH FL
       of the debtor's interest
                                                                                  NEW YORK, NY 10281


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                          WILLIS OF NEW YORK INC
       lease is for and the nature   FOLLOW-FORM EXCESS INSURANCE DECLARATIONS 200 LIBERTY ST
2.81                                                                           NEW YORK, NY 10281-1003
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    LANDLORDS                                    WS TICES CORNER MARKETPLACE LLC
       lease is for and the nature                                                DAVID ADAM REALTY, INC
2.82                                                                              P.O. BOX 5040
       of the debtor's interest
                                                                                  WESTPORT, CT 06881


       State the term remaining      Term Not Stated
       List the contract number of
       any government contract


       State what the contract or    LANDLORDS                                    WS TICES CORNER MARKETPLACE LLC
       lease is for and the nature                                                61 WILTON RD
2.83                                                                              WESTPORT, CT 06880
       of the debtor's interest


       State the term remaining      Term Not Stated
       List the contract number of
       any government contract




  Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases              Page 14 of 15
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Debtor Name         Chinos Holdings, Inc.
                                                 Document    Page 52 of 54 Case number (if known): 20-32181

       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LANDLORDS                                    WS TICE'S CORNER MARKETPLACE LLC
       lease is for and the nature                                                DAVID ADAM REALTY, INC
2.84                                                                              57 WILTON RD, STE 200
       of the debtor's interest
                                                                                  WESTPORT, CT 06880


       State the term remaining      Term Not Stated
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             XL CATLIN
       lease is for and the nature   EXCESS ERRORS AND OMISSIONS POLICY           DEPT: REGULATORY
2.85                                 DECLARATIONS                                 505 EAGLEVIEW BLVD, STE 100
       of the debtor's interest
                                                                                  EXTON, PA 19341-1120


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             XS PACT
       lease is for and the nature   XS PACT FOLLOW FORM INSURANCE POLICY         HOME OFFICE
2.86                                                                              1900 L DON DODSON DR
       of the debtor's interest
                                                                                  BEDFORD, TX 76021


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             XS PACT
       lease is for and the nature   XS PACT FOLLOW FORM INSURANCE POLICY         ADMINISTRATION
2.87                                                                              1900 L DON DODSON DR
       of the debtor's interest
                                                                                  BEDFORD, TX 76021


       State the term remaining      05/14/2019 - 05/14/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             ZURICH AMERICAN INSURANCE COMPANY
       lease is for and the nature   ZURICH EXCESS SELECT INSURANCE POLICY        1299 ZURICH WAY
2.88                                                                              SCHAUMBURG, IL 60196-1056
       of the debtor's interest


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract


       State what the contract or    INSURANCE POLICY                             ZURICH CUSTOMER CARE CENTER
       lease is for and the nature   ZURICH EXCESS SELECT INSURANCE POLICY        ZURICH NORTH AMERICAN
2.89                                                                              P.O. BOX 968017
       of the debtor's interest
                                                                                  SCHAUMBURG, IL 60196


       State the term remaining      04/30/2019 - 04/30/2020
       List the contract number of
       any government contract




  Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases               Page 15 of 15
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Debtor Name           Chinos Holdings, Inc.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):             20-32181


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any codebtors?
        No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes.
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                         Column 2: Creditor

      Name                     Mailing Address                                                   Name                                  Check all schedules
                                                                                                                                       that apply
2.1     J. CREW GROUP, INC.                                                                    Avalon North, LLC                                  D
                                                                                                                                                  E/F
                                                                                                                                                  G



2.2     J. CREW GROUP, INC.                                                                    Deloitte Tax LLP                                   D
                                                                                                                                                  E/F
                                                                                                                                                  G



2.3     J. CREW GROUP, INC.                                                                    Deloitte Tax LLP                                   D
                                                                                                                                                  E/F
                                                                                                                                                  G



2.4     J. CREW GROUP, INC.                                                                    North 6th St Realty, LLC                           D
                                                                                                                                                  E/F
                                                                                                                                                  G




 Official Form 206H                                      Schedule H: Codebtors                                                    Page 1 of 1
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 Debtor Name        Chinos Holdings, Inc.
 United States Bankruptcy Court for the Eastern District of Virginia
 Case Number: 20-32181



 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                             12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
 must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
 declaration that is not included in the document, and any amendments of those documents. This form must
 state the individual's position or relationship to the debtor, the identity of the document, and the date.
 Bankruptcy Rules 1008 and 9011.

 WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
 money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
 imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.


              Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true
        and correct:


           Schedule A/B: Assets- Real and Personal Property        (Official Form 206 A/B)

           Schedule D: Creditors Who Have Claims Secured by Property           (Official Form 206 D)

           Schedule E/F: Creditors Who Have Claims Unsecured Claims            (Official Form 206 E/F)

           Schedule G: Executory Contracts and Unexpired Leases           (Official Form 206 G)

           Schedule H: Codebtors                                          (Official Form 206 H)

           Summary of Assets and Liabilities for Non-Individuals       (Official Form 206Sum)

           Amended Schedule

           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
           (Official Form 204)

           Other document that requires a declaration



         I, the Chief Financial Officer of the Chinos Holdings, Inc., declare under penalty of perjury that I have read the foregoing
         summary and schedules, consisting of 54 sheets, and that they are true and correct to the best of my knowledge,
         information, and belief.



  Executed on: 6/12/2020                                Signature       /s/ Vincent Zanna
               MM / DD / YYYY
                                                                                       Vincent Zanna
                                                         Printed Name
                                                                                   Chief Financial Officer
                                                         Title
